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UNITED STATES DISTRICT COURT
THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA GENERAL ENERGY
COMPANY, L.L.C. Case No. 1:14-cv-209
Plaintiff,
VS.
ELECTRONICALLY FILED
GRANT TOWNSHIP,
Defendant.

 

DECLARATION OF LISA C. MCMANUS, ESQ.
COMMONWEALTH OF PENNSYLVANIA )
COUNTY OF WARREN 5 =
Before me, the undersigned authority, personally appeared Lisa C. McManus, Esq.,
who, being duly sworn according to law, deposes, affirms and states as follows:
1. I am an attorney serving as General Counsel and Vice-President, Legal for
Pennsylvania General Energy Company, L.L.C., with an office located at 120
Market Street, Warren, Pennsylvania (“PGE”), and have been a member in
good standing of the Bar of the Commonwealth of Pennsylvania since 1990. [
am admitted to practice before the United States District Court for the
Western District of Pennsylvania and the Third Circuit Court of Appeals.
2. I attended Central College in London, England, and received my B.A., summa

cum laude, from Saint Vincent College and my law degree, cum laude, from

the Dickinson School of Law in 1990. During law school, I served as a law

 

 
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clerk at the Pennsylvania Public Schoo] Employees Retirement System, and
upon graduating, I joined Eckert Seamans Cherin & Mellott in Pittsburgh as a
litigation associate. In 1992, | left Eckert Seamans to become a partner at
Coppolo & Coppolo in St. Marys, where ! practiced until 2002. Prior to joining
PGE in 2014, I maintained a private practice concentrating on oil and gas law
and general business and transactional matters in St. Marys, Pennsylvania.

{ am active in a multitude of professional organizations and serve on
numerous boards. I am the author of Resolving Issues Involving Dormant Oil
and Gas interests, The Law of Oil and Gas in Pennsylvania, Ed. Joel Burcat,
Stephen W. Saunders, PBI Press, 2014; Loss of Oil and Gas Rights Improper
Use of the Action to Quiet Title, Pennsylvania Bar Association Quarterly
LXXXVI.3 (2015): 93-104; and numerous articles on oil and gas law. |
frequently lecture and plan continuing legal education programs for the
Pennsylvania Bar Institute, have presented as a guest lecturer on oil and gas
title law at the Pennsylvania State University, and have served as faculty on
multiple courses and podcasts offered by the American Bar Association,
American Inn of Courts, local bar associations, and LexisNexis.

The statements set forth by me in this Affidavit are based on my personal
knowledge of the information set forth herein or information gathered by
others at my direction and control who work for PGE.

In my position as Vice President, Legal and General Counsel for PGE, I am

directly involved in and oversee litigation involving PGE. In particular, I have

 

 

 
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been directly involved in the litigation with Grant Township, Pennsylvania, at

the above-captioned number prior to and since its inception.

6. In January, 2018, PGE approached Grant Township about the concept that

became the Joint Stipulation that was filed with the Court on February 23,

2018 at ECF No. 307. PGE decided that it would not pursue a trial on either:

(1) whether Grant Township was liable on the counts which had not been

ruled on by this Court in the motions for judgment on the pleadings or

motions for summary judgment; or (2) the damages for which PGE would be

entitled from Grant Township related to the passage of the subject

unconstitutional and unlawful Ordinance. PGE’s decision not to pursue a

liability determination on the three remaining counts (Procedural Due

Process, Contracts Clause, Sunshine Law) at trial was based on, inter alia, the

fact PGE had already obtained relief on other counts, including constitutional

claims and state law claims, thereby preventing Grant Township from

utilizing the discredited community-based rights concept to prevent PGE’s

lawful operations within the Township or from accessing the courts for

redress of grievances. Despite PGE’s belief that the law clearly entitled PGE to

judgment in its favor on the Procedural Due Process, Contracts Clause counts

once PGE provided the underlying proof of property interests afforded by

contract as required by the Court, PGE determined that moving forward with

a jury trial to “win” on these claims would be an unwarranted expenditure of

judicial and party resources.

 

 
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Likewise, PGE’s decision to accept a nominal damage award rather than to
pursue a compensatory damages award through trial was based on multiple
factors. Initially, Grant Township requested, as is its right, a jury trial on the
issue of damages. A jury trial would likely have lasted multiple days and
would have required significant pre-trial preparation, including witness and
expert preparation, motions in limine and jury selection, which would have
increased PGE’s attorneys’ fees and costs by an estimated $100,000, PGE
believes that it would have been able to prove compensatory damages and

receive a jury award of in excess of $300,000. Thus, the potential total award

in this matter, including an attorneys’ fees award, would have approached

$1,000,000. Significantly, in the Declaration of Supervisor Jon Perry in
Opposition to PGE’s Renewed and Supplemental Motion for Sanctions

submitted to this court on June 26, 2017 (ECF No. 260-7), Grant Township

Supervisor Jon Perry swore that Grant Township would face municipal

bankruptcy should PGE be awarded $518,281 in sanctions. Mr. Perry also
stated that the Township's average account balance ranges between
$100,000 to $118,000. This led PGE to the conclusion that a multi-day jury
trial] would not be an effective use of PGE or judicial resources. Moreover, as
PGE was already the prevailing party based on the obtaining of declaratory,
injunctive, and other relief, PGE would be entitled to attorneys’ fees already
incurred. PGE has no desire to bankrupt Grant Township. However, PGE
desires to recover a portion of the attorneys’ fees and costs for which it is

entitled and to deter the continued pursuit of discredited community-based

 

 
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rights arguments. As a result, PGE has opted to accept the nominal damages
award and pursue its attorneys’ fees and costs, albeit in a substantially
reduced amount as reflected below. For these reasons, as there is no
reasonable argument that PGE has not prevailed, PGE has developed and
pursued a litigation strategy through the Stipulation filed at ECF No, 307 and
subsequent Revised Stipulation filed at ECF No. 314. This effort should allow
the litigation to be completed in a streamlined and expedited manner which
will not bankrupt Grant Township, will allow PGE to recover a small portion
of its attorneys’ fees and costs, and will discourage Grant Township (and
perhaps others) from the continued pursuit of unlawful and unconstitutional
actions such as those represented by the Ordinance.

In further support of PGE’s motion for attorneys’ fees, | affirm that I obtained
the Letter from Grant Township to: Federal Court, Pennsylvania General
Energy, and Those Who Will Stand for What's Right, PUBLIC HERALD, dated
Jan. 13, 2018, available at http:/ /publicherald.org/a-letter-to-those-who-
will-stand-for-whats-right/, by viewing the letter and downloading it from
the Public Herald website on March 16, 2018 and attached to this Declaration
as Exhibit A. This letter from the Grant Township Supervisors is also
available on the Community Environmental Legal Defense Fund website at
https: //celdf.org/2018/01/grant-township-pa-sanctions-lawyers-badge-
courage/ and is accompanied by the contact information for Grant Township
Supervisor Stacy Long and email address for Grant Township. The content of

this letter, as reflected in the Memorandum of Law submitted in support of

 

 
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10.

11.

the Motion for Attorneys’ fees, underscores the importance of a deterrent
effect that would be generated by an award of attorneys’ fees, just as the
sanctions award in this case is having a deterrent effect with regard to the
continued propagation of the community-based rights agenda in other
communities, see, e.g., Memorandum to Gary Klaphake, City Administrator,
from David S. Williamson and Mathew M. Munch, Office of the City Attorney,
City of Lafayette, Colorado, dated February 6, 2018, which I obtained on
March 21, 2018, by downloading the document from the following URL:
http: //www.cityoflafayette.com/DocumentCenter/View/20126, and which

is attached as Exhibit B.

 

With over 25 years of practice experience and several years serving as
General Counsel, | am knowledgeable regarding attorney rates in western
Pennsylvania. My experience is based not only on my own billing rates while
in practice, but also on the billing rates of attorneys that I have retained to
represent or perform services for PGE.

PGE retained Babst Calland, Clements, & Zominir, P.C. (“Babst Calland”) to
represent the company in connection with this lawsuit. In my professional
opinion, Babst Calland’s hourly rates are commensurate with or better than
the market rate in western Pennsylvania for similar services by lawyers of
reasonably comparable skill, experience, and reputation.

The decision to hire James V. Corbelli, Esquire and Kevin Garber, Esquire was
based on their extensive experience in litigation, environmental law,

municipal law, and regulatory issues, as well as confidence in their ability to

 

 

 
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12.

13.

identify other attorneys at Babst Calland whose expertise and/or billable
rates would dovetail to effectively and efficiently litigate this suit at a
reasonable cost.

| personally and carefully reviewed the Babst Calland fees and costs billed to
PGE for this litigation and approved payment of the fees and costs because I
found them to be reasonable and appropriate. On that basis, PGE paid the
fees and costs billed.

In preparing the documentation in support of the Motion for Attorneys' Fees
& Costs Pursuant to 42 U.S.C. § 1988 as the Prevailing Party for Claims
Pursued under 42 U.S.C. § 1983, I assured that fees and costs that were not
directly associated with the litigation of this matter were redacted from the
original invoices and not included in any summary of fees claimed, In
particular, | eliminated all charges for services charged by Babst Calland
relating to PGE’s efforts to obtain a permit to alter the subject gas well to an
injection well from the Department of Environmental Protection, and other
activities not related to this litigation. Moreover, I eliminated all costs that
are not properly the subject of recovery pursuant to Fed.R.Civ.P. 54(d)(1)}, 28
U.S.C. § 1920, and 42 U.S.C. § 1988. This redaction is reflected on the invoices
attached hereto as Exhibit C, which represent the contemporaneous billing
records of Babst Calland and form the foundation for the fees and costs that

PGE contends should be awarded pursuant to the Motion for Attorneys’ Fees

and Costs.

 

 

 
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14,

15.

16.

17,

In order to minimize the potential for further disputes over the fee claims, |
eliminated the following line items: (a) those for legal services provided in
conjunction with this matter for which Babst Calland waived or reduced its
fees; (b) entries by attorneys and support staff at Babst Calland who did not
bill at least 10 hours in this matter; (c) those for legal services provided
primarily in conjunction with the intervention matters, which time is
significant.

PGE is submitting to this Court in its claim for Attorneys’ Fees those legal fees
and computerized research charges paid to Babst Calland directly related to
the filings in this litigation in the amount of $619,121.77. The line item
charges have been set forth by attorney on spreadsheets for ease of review.
This document is attached hereto as Exhibit D.

PGE and its counsel have made a concerted effort to minimize the billable
hours and costs in this matter. In order to minimize PGE’s attorneys’ fees and
expenses, I personally have spent in excess of 1,000 hours on this litigation,
including the drafting of numerous motions and briefs in support, &g.,
Motion for Sanctions and Memorandum of Law in Support and Motion for
Attorneys’ Fees and Memorandum of Law in Support.

Although I believe and therefore aver that PGE is entitled to the full measure
of attorneys’ fees expended in the litigation of this matter, because PGE does
not wish to bankrupt Grant Township, I am authorized on behalf of PGE to
request that instead of an award of the full amount of attorneys’ fees to

which PGE is entitled ($619,121.77 as of the date of this filing) the Court

 

 

 
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award a reduced amount of $100,000.00 in attorneys’ fees, plus
computerized legal research fees and costs, in order to avoid bankrupting
Grant Township. This concession to an award limited to $100,000.00 is
limited to those fees incurred to date and does not limit the request for
attorneys’ fees and costs incurred in the future in this matter, including, but
not limited to, attorneys’ fees incurred on any appeal filed in this matter.

18, PGE is submitting a list of costs paid to Babst Calland in this litigation in the
amount of $1,399.91. These items were set forth as a separate disbursement
in the Babst Calland invoices. The line item charges have been set forth on
spreadsheets for ease of review. This document is attached hereto as Exhibit
E. I have eliminated ail costs related to the appeal by proposed intervenors.

19. I solemnly affirm under the penalties of perjury and upon personal

knowledge that the contents of this Affidavit are true and correct.

Executed on this)” day of April, 2018. hed Ni dU

Lisa C. McManus

 

Sworn to and subscribed before me this “©. day of April, 2018.

 

Qponeeee Xrtlon hezeoo :
Notary Public |

My commission expires JuUme 7, ACLS

COMMONWEALTH OF PENNSYLVANIA
; NOTARIAL SEAL
Jessica Lookenhouse, Notary Public
City of Warren, Warren County
My Commission Expires June 7, 2048
MEMBER, PENHSYLVANIA ASSOCIATION OF NOTARIES

 

 

 

 

 

 
